     Case 21-11624-MBK         Doc 22     Filed 04/30/21 Entered 04/30/21 11:57:22              Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1
                                                                        Order Filed on April 30, 2021
      DENISE CARLON, ESQUIRE                                            by Clerk
                                                                        U.S. Bankruptcy Court
      KML LAW GROUP, P.C.                                               District of New Jersey
      701 Market Street, Suite 5000
      Philadelphia, PA 19106
      dcarlon@kmllawgroup.com
      Attorneys for Movant
      Guaranteed Rate, Inc.
      In Re:                                                   Case No.: 21-11624 MBK
                                                               Adv. No.:
      Heidi E. Lubrani,                                        Hearing Date: 4/28/2021 @ 10:00 a.m.

      Debtor.                                                  Judge: Michael B. Kaplan


           ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO DEBTOR’S
                               CHAPTER 13 PLAN

      The relief set forth on the following pages, numbered two (2) through two (2) is hereby
      ORDERED




DATED: April 30, 2021
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Debtor:               Heidi E. Lubrani
Case No.:             21-11624 MBK
Caption:              ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO
                      DEBTOR’S CHAPTER 13 PLAN

       This matter having been brought before the Court by KML Law Group, P.C., attorneys
for Secured Creditor, Guaranteed Rate, Inc., holder of a mortgage on real property located at 235
Sandlewood Drive, Bayville, NJ, 08721, Denise Carlon appearing, by way of objection to the
confirmation of Debtor’s Chapter 13 Plan, and this Court having considered the representations
of            attorneys             for            Secured              Creditor             and
David A. Semanchik, Esquire, attorney for Debtor, Heidi E. Lubrani, and for good cause having
been shown;
       It ORDERED, ADJUDGED and DECREED that Secured Creditor will be treated as
unaffected by this plan; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that Secured Creditor’s
objection to confirmation is hereby resolved.
